              Case 4:22-mc-94017 Document 1 Filed 06/17/22 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       MBD Case No. 22-mc-94017
                                              )
ZACHARY ZELLA,                                )
                                              )
                        Defendant.            )



              ASSENTED-TO MOTION TO EXTEND TIME WITHIN WHICH
                  INDICTMENT OR INFORMATION MUST BE FILED

         The United States of America, by Assistant United States Attorney Danial E. Bennett,

hereby moves the Court for an Order, pursuant to 18 U.S.C. §§ 3161(b) and (h)(7), that extends

the time within which an indictment or information must be filed in the above-captioned case until

August 12, 2022.

         In support of the motion the government states as follows:

         1.     Defendant Zachary Zella is charged by criminal complaint, 22-mj-4211-DHH, with

Felon in Possession of Ammunition, in violation of 18 U.S.C. § 922(g)(1), and Dealing in Firearms

without a License, in violation of 18 U.S.C. § 922(a)(1)(A).

         2.     Law enforcement arrested Zella on May 26, 2022. He made his initial appearance

before the Magistrate Court the same day. On May 31, 2022, Simmons waived his preliminary

and had an initial detention hearing that was continued on June 8, 2022, when Zella was ordered

detained.     Pursuant to 18 U.S.C. ' 3161(b), the government has until June 27, 2022, to indict

Zella.



                                                  1
             Case 4:22-mc-94017 Document 1 Filed 06/17/22 Page 2 of 3




       3.      The parties are exploring the possibility of resolving this case short of a trial. The

parties require additional time, however, before such a determination can be made.

       4.      The government has not previously sought to enlarge the time in which an

indictment or information must be filed.

       5.      The government submits that the delay resulting from the extension of time for

filing an indictment or information serves the ends of justice and outweighs the best interest of the

public and the defendant in a speedy trial.

       6.      The government has consulted with defense counsel who has assented to this

request.

       ACCORDINGLY, the government asks the Court to enter an Order, pursuant to 18 U.S.C.

§§ 3161(b) and (h)(7), that extends the time within which an indictment or information must be

filed in the above-captioned case until August 12, 2022 and moves that the period between June

May 26, 2022, through August 12, 2022, be excluded from all Speedy Trial Act calculations.

                                                      Respectfully submitted,

                                                      RACHAEL S. ROLLINS
                                                      UNITED STATES ATTORNEY


                                              By:     /s/ Danial E. Bennett
                                                      DANIAL E. BENNETT (BBO# 657436)
                                                      Assistant U.S. Attorney
                                                      United States Attorney’s Office
                                                      District of Massachusetts
                                                      Donohue Federal Building
                                                      595 Main Street
                                                      Worcester, Massachusetts 01608
                                                      Danial.Bennett@usdoj.gov

Dated: June 17, 2022


                                                 2
             Case 4:22-mc-94017 Document 1 Filed 06/17/22 Page 3 of 3




                                     Certificate of Service

       This is to certify that I have served defense counsel a copy of the foregoing document by

electronic mail.

                                                    /s/ Danial E. Bennett
                                                    Danial E. Bennett
                                                    Assistant U.S. Attorney


Dated: June 17, 2022




                                               3
